                   Case 1:11-cr-00052-JLT Document 65 Filed 08/12/11 Page 1 of 1


 1
 2                             UNITED STATES DISTRICT COURT
 3                                EASTERN DISTRICT OF CALIFORNIA
 4
     UNITED STATES OF AMERICA,                            CASE NO. 1:11-CR-00052 LJO
 5
                             Plaintiff,                   ORDER REGARDING RETURN
 6                                                        OF DEFENDANT’S CONCEALED
              v.                                          FIREARM PERMIT
 7
 8   TIMOTHY DUANE,
 9                           Defendant.
                                                 /
10
11            On February 22, 2011, defendant Timothy Duane appeared for a detention hearing in the
12   Northern District of Texas and was ordered released from custody on conditions. On that same day,
13   in accordance with the conditions of his release, the defendant surrendered a concealed firearm
14   permit issued by the Utah Department of Public Safety (“Permit”) to U.S. Probation/Pretrial Services
15   for the Northern District of Texas.
16            On June 27, 2011, U.S. Pretrial Services for the Eastern District of California (EDCA)
17   received the Permit from the U.S. Probation/Pretrial Services for the Northern District of Texas.
18            The defendant has absconded from pretrial supervision.
19            IT IS HEREBY ORDERED that:
20            1.      The U.S. Pretrial Services for the EDCA is authorized to return the Permit to the
21                    Utah Department of Public Safety.
22            2.      The U.S. Pretrial Services for the EDCA is further authorized to inform the Utah
23                    Department of Public Safety of the pending federal charges against the defendant,
24                    and that the defendant has absconded from pretrial supervision and has failed to
25                    appear for court proceedings.
26   IT IS SO ORDERED.
27   Dated:        August 12, 2011                      /s/ Sheila K. Oberto
     ie14hj                                     UNITED STATES MAGISTRATE JUDGE
28
